           Case 1:21-cr-00453-JDB Document 93 Filed 03/06/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :         No. 21-CR-453 (JDB)
                                             :
SEAN MICHAEL MCHUGH,                         :
                                             :
     Defendant.                              :


                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and accurate copy of the United States of America’s written

notice, pursuant to Federal Rule of Criminal Procedure Rule 16(a)(1)(G)(iii), regarding disclosure

of witnesses (1) Federal Bureau of Investigation Chemist – Forensic Examiner Dr. Jason D.

Brewer and (2) Metropolitan Police Department Sergeant William Bogner, was served upon the

following by sending same by email on March 6, 2023, to:

         Joseph W. Allen
         1015 W. State Hwy. 248 Ste. I
         Branson, MO 65616

         Email: joe@mybransonattorney.com, josh@mybransonattorney.com

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    /s/ CAROLINA NEVIN
                                             CAROLINA NEVIN
                                             Assistant United States Attorney
                                             New York Bar No. 5226121
                                             601 D Street, NW
                                             Washington, DC 20530
                                             (202) 803-1612
                                             carolina.nevin@usdoj.gov
